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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 PERKINS COIE LLP,

          Plaintiff,
 v.                                                    Civil Action No. 1:25-cv-00716-BAH
                                                       Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,
          Defendants.


      [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISQUALIFY
                         JUDGE BERYL HOWELL

         After consideration of Defendants’ Motion to Disqualify, it is hereby ORDERED that the

Motion is GRANTED. The Clerk is directed to reassign the case.

         SO ORDERED.



Dated:
                                                           BERYL A. HOWELL
                                                           United States District Judge




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